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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JARRELL R. CISNEROS                             :           CIVIL ACTION
                                                :
   v.                                           :           No. 17-4510
                                                :
SUN EAST FEDERAL CREDIT UNION,                  :
et al                                           :

                                            ORDER

        AND NOW, this 26th day of April, 2018, it having been reported the issues between the

parties in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is ORDERED

the above action is DISMISSED with prejudice, pursuant to agreement of counsel without costs.



                                                            BY THE COURT:



                                                            /s/ Juan R. Sánchez
                                                            Juan R. Sánchez, J.
